                    IN THE SUPREME COURT
                    STATE OF NORTH DAKOTA

                                  2024 ND 162
Thomas L. Zundel,                                                Petitioner
      v.
City of Jamestown; and Jamestown Municipal Court,             Respondents



                                 No. 20240080

Petition for Writ of Mandamus.

PETITION GRANTED IN PART AND DENIED IN PART.

Opinion of the Court by Tufte, Justice.

Jesse H. Walstad, Bismarck, N.D., for petitioner.

Abbagail C. Geroux (argued), Assistant City Prosecutor, and Leo A. Ryan (on
brief), City Prosecutor, Jamestown, N.D., for respondents.
                          Zundel v. City of Jamestown
                                 No. 20240080

Tufte, Justice.

[¶1] Thomas Zundel petitions this Court for a writ of mandamus ordering
the Jamestown Municipal Court to close a 1990 criminal case and for declaratory
relief restoring his constitutional rights under article I, section 1 of the
North Dakota Constitution and the Second Amendment of the United States
Constitution. We grant the petition in part and deny the petition in part.

                                        I

[¶2] Thomas Zundel attempted to buy a firearm, but the purchase was denied
when a background check using the National Instant Criminal Background
Check System (NICS) revealed a 1990 simple assault charge in Jamestown
Municipal Court. NICS showed the charge was continued for a year and Zundel
was ordered to participate in counseling. NICS failed to confirm a conviction.
Zundel filed a voluntary appeal of the NICS denial with the FBI. The FBI
determined the 1990 case was a “potential prohibitor” and told Zundel to contact
the Jamestown Police Department to obtain the missing information on the
charge within 88 days or the file could not be processed.

[¶3] Zundel attempted to obtain records from the Stutsman County Clerk of
Court and the Jamestown Municipal Clerk of Court, but both responded that
they had no records relating to his arrest or conviction or any other records of a
court case. He also requested records from the Jamestown Police Department,
Jamestown City Attorney, North Dakota BCI, and FBI. None had any records
beyond the criminal background check reflecting a 1990 arrest by the Jamestown
Police Department for simple assault annotated as “CONTINUED FOR 1 YR
PENDING COUNSELING OUTCOME.” Zundel explained to the FBI that his
search for records had failed and requested a favorable adjudication. The FBI
denied the appeal, holding the absence of a final disposition meant the
potentially prohibiting record could not be nullified. Zundel now petitions this
Court for a writ of mandamus directing the Jamestown Municipal Court to close
his simple assault case.


                                        1
                                        II

[¶4] Article VI, section 2 of the North Dakota Constitution states this Court
“shall have appellate jurisdiction, and shall also have original jurisdiction with
authority to issue, hear, and determine such original and remedial writs as may
be necessary to properly exercise its jurisdiction.” “This Court’s authority to
issue original writs is discretionary and may not be invoked as a matter of right.”
Berg v. Jaeger, 2020 ND 178, ¶ 7, 948 N.W.2d 4. “It is well settled that the power
to exercise our original jurisdiction extends only to those cases where the
questions presented are publici juris and affect the sovereignty of the state, the
franchises or prerogatives of the state, or the liberties of its people.” Riemers v.
Jaeger, 2018 ND 192, ¶ 5, 916 N.W.2d 113. “The interest of the state must be
primary, not incidental, and the public must have an interest or right that is
affected.” Id.
[¶5] The issues in this case concern the municipal court’s duty to maintain
accurate public records concerning the disposition of cases it has adjudicated
and to provide those records to the public when requested. As part of its
administrative supervision over the state’s unified judicial branch, the supreme
court has provided record retention requirements for all courts in this state. N.D.
Sup. Ct. Admin. R. 19 (“This rule applies to all court records under the
jurisdiction of the clerks of district court, municipal judges, and to commissions,
boards, committees, and offices under the supervision of the supreme court.”).

[¶6] The courts of this state have a fundamental obligation to maintain accurate
records of their proceedings. These records serve as the cornerstone of an open
and accountable judicial system. This duty is not a matter of mere administrative
convenience—it plays a crucial role in upholding the principles of due process
and the rule of law. By accurately documenting court proceedings, decisions,
and the rationale behind them, courts create an accessible record that allows for
public scrutiny, facilitates appellate review, and ensures consistency in the
application of law. Accurate and complete court records are essential for
background checks for security clearances and sensitive employment positions,
ensuring that decision-makers have a comprehensive understanding of an
individual’s legal history. In criminal proceedings, these records provide crucial


                                         2
information for sentencing decisions and can be used to assess the credibility of
witnesses. Furthermore, in family law matters, court records play a pivotal role
in informing decisions about parenting time and visitation rights, directly
affecting the well-being of children and families. Here, the right to keep and bear
arms is implicated; in other situations, the right to vote or restrictions on
participation in federal benefits and other programs may be affected. Beyond
these examples, court records can also be critical in immigration proceedings,
professional licensing decisions, and even in protecting individuals from
identity theft or mistaken identity in legal matters. Ultimately, the careful
maintenance of court records is essential to the integrity of the judicial system
by fostering public trust and safeguarding the rights of all individuals who come
before the court, while also serving as a vital resource for personal, professional,
and legal decisions that extend far beyond the courtroom.

[¶7] Under article XI, section 6 of the North Dakota Constitution: “Unless
otherwise provided by law, all records of public or governmental bodies . . . shall
be public records, open and accessible for inspection during reasonable office
hours.” Our rules recognize the public has an interest in access to court records,
which are presumed open. N.D. Sup. Ct. Admin. R. 41; State v. M.J.W., 2020 ND
183, ¶ 6, 947 N.W.2d 906. We conclude retention of and access to court records is
a matter of public interest warranting the exercise of this Court’s original
jurisdiction to consider Zundel’s petition.

                                        III

[¶8] Zundel argues this Court should mandate closure of his Jamestown
Municipal Court simple assault case from November 1990.

[¶9] Section 32-34-01, N.D.C.C., empowers this Court to issue a writ of
mandamus:

      The writ of mandamus may be issued by the supreme and district
      courts to any inferior tribunal, corporation, board, or person to
      compel the performance of an act which the law specially enjoins as
      a duty resulting from an office, trust, or station, or to compel the
      admission of a party to the use and enjoyment of a right or office to


                                         3
      which the party is entitled and from which the party is precluded
      unlawfully by such inferior tribunal, corporation, board, or person.

[¶10] Whether to issue a writ of mandamus is left to this Court’s discretion. Little
v. Stark Cnty. Sheriff on behalf of Stark Cnty. Sheriff’s Office, 2018 ND 22, ¶ 8, 906
N.W.2d 333. “A petitioner for a writ of mandamus must show there is no plain,
speedy, and adequate remedy in the ordinary cause of the law and that they have
a clear legal right to the performance of the particular act sought to be compelled
by the writ.” Larson v. N. Dakota Workforce Safety and Ins., 2022 ND 118, ¶ 17, 975
N.W.2d 552 (quoting Motisi v. Hebron Pub. Sch. Dist., 2021 ND 229, ¶ 10, 968
N.W.2d 191) (quotations omitted); Trinity Hosps. v. Mattson, 2006 ND 231, ¶¶ 6-
8, 723 N.W.2d 684.

                                          A

[¶11] The City of Jamestown and the Jamestown Municipal Court argue this
Court should not grant a writ because Zundel has an adequate remedy in federal
court under Ross v. Fed. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 903 F.
Supp. 2d 333, 337 (D. Md. 2012).

[¶12] In Ross, the Plaintiff attempted to buy a firearm, but his purchase was
delayed because he had a potentially prohibitive charge on his record for a 1965
arrest for “Assault on Female,” but the record did not show a conviction. 903 F.
Supp. 2d at 337. NICS informed Ross it was unable to complete his information,
which would subject his future firearms transactions to delay. Id. at 341. The
court found the NICS Section erroneously shifted the burden to Ross to prove
there was not a conviction by requiring him to submit an updated record, and
concluding “[n]othing in the regulations supports the NICS Section’s position
that the prospective transferee must disprove the existence of a potentially
disqualifying criminal record to avoid all future delays.” Id. The Court held that
because there was no recorded conviction, the Plaintiff was improperly denied a
firearm. Id. at 342.

[¶13] If Zundel filed suit in federal district court, the court may be persuaded by
the reasoning of the court in Ross, but a district court opinion from another
federal circuit is not binding on other courts. A federal court relying on Ross may


                                          4
provide a remedy for Zundel, but only for a particular firearms transaction.
Although this petition arises in response to a denied firearms transaction,
Zundel’s request relates to state court records. A federal suit would not be an
adequate alternative remedy to vindicate Zundel’s and the public’s clear legal
right to access accurate court records. Thus, we exercise our discretion to
consider whether the municipal court satisfied its duty to maintain and provide
access to court records and whether to issue a writ ordering the municipal court
to take further action relating to the records at issue here.

                                          B

[¶14] “The judicial power of the state is vested in a unified judicial system
consisting of a supreme court, a district court, and such other courts as may be
provided by law.” N.D. Const. art. VI, § 1. “The supreme court shall have
authority to promulgate rules of procedure . . . to be followed by all the courts of
this state.” N.D. Const. art. VI, § 3. Under North Dakota Supreme Court
Administrative Rule 19(2)(c) (1978 Rev. 1985), “[t]he judge of a municipal court
or a clerk designated by the judge shall be responsible for the administration of
all municipal court records in accordance with this records retention schedule.”
The retention schedule in effect in 1990 specified a retention period of
“permanent” for the Register of Criminal Actions, which required the municipal
court to keep that record indefinitely. N.D. Sup. Ct. Admin. R. 19(8)(34) (1985).

[¶15] The retention schedule and Rule 19 have been amended several times since
then, but at all relevant times the rules required municipal courts to indefinitely
retain the register of criminal actions. N.D. Sup. Ct. Admin. R. 19(4)(a). A record
must be kept of the destruction, transfer to the state archives, or other disposition
of court records. N.D. Sup. Ct. Admin. R. 19(6). The disposition of a criminal
action, such as a judgment of conviction, a finding of not guilty, or other reason
for discharge, is an essential part of the register of actions and must be filed and
retained permanently in the register of actions. See N.D.R.Crim.P. 32(b). As a
court of this state subject to Rule 19, the municipal court has a duty to maintain
records.




                                         5
[¶16] According to the FBI report attached as an exhibit to this petition, Zundel
was arrested by the Jamestown Police Department for simple assault on
November 2, 1990. If it had been retained, the missing record of actions for this
case would inform Zundel and the public of the disposition of any court case
filed as a result of his 1990 arrest. A register of actions containing the disposition
of this case should have been indefinitely retained, but the record apparently
does not exist. We must therefore consider what the duty of a court is when it
appears a register of actions containing the disposition cannot be located.

[¶17] “Statutes may prescribe the procedure to obtain restoration or substitution
of lost or destroyed judicial records[.]” 52 Am. Jur. 2d § 21. Such statutes
“address the issue in various ways, such as by permitting a party to seek a court
declaration as to whether a record existed, and if so, what the substance of it
was.” Id. For example, federal statutes govern procedures to restore lost or
destroyed records of files of a court of the United States. See 28 U.S.C. § 1735.
“Whenever the United States is interested in any lost or destroyed records or
files of a court of the United States, the clerk of such court and the United States
attorney for the district shall take the steps necessary to restore such records or
files, under the direction of the judges of such court.” 28 U.S.C. § 1735(b). North
Dakota does not have a specific statute or procedure in place for lost, destroyed,
or missing administrative records. Notably, however, in cases involving lost or
missing evidentiary records, the solution is generally recreation of the record.
See e.g., Masset v. Dir., N. Dakota Dep’t of Transp., 2010 ND 211, ¶ 9, 790 N.W.2d
481 (holding “the Department must recreate the record through [ ] testimony
which is sufficient in the hearing officer’s discretion to replace evidence lost
when the original recording failed”). In cases where the record is unclear, it is
the duty of the district court to settle the record. See, e.g., N.D.R.App.P. 10(h)(1)
(“If any difference arises about whether the record truly discloses what occurred
in the district court, the difference must be submitted to and settled by the
district court and the record conformed accordingly.”).

[¶18] Courts, as keepers of the record, have an inherent power to restore or
substitute lost or destroyed records. See 52 Am. Jur. 2d § 19 (“Inherent in every
court of general jurisdiction is the power to restore or substitute papers, files,
and records which have been lost or destroyed[.]”). “Given the inherent powers

                                          6
of the court to restore its own records, statutory methods for supplying lost
records may not be the exclusive method of doing so.” 52 Am. Jur. 2d § 19; see
also Red River &amp; Lake of the Woods R.R. Co. v. Sture, 32 Minn. 95, 100, 20 N.W. 229,
231 (1884) (“Independently of statute, and by virtue of its inherent powers,
unaffected by lapse of time, every court has the right to replace its records when
lost or destroyed by accident, negligence, or wantonness.”). A court, including
the municipal court here, has a duty to replace or reconstruct the record. Absent
a statutory procedure to do so, the court has discretion how to restore the record.
See, e.g., N.D.R.App.P. 10(h) (absent stipulation by the parties, the district court
shall settle the record).

[¶19] The first logical step is for the custodian to thoroughly search its records
in an attempt to locate the record. See N.D. Sup. Ct. Admin. R. 19(2)(d) (“Each
district and municipal court must designate an administrative records custodian
to manage retention and disposition of the administrative records under the
court’s jurisdiction.”). If the record cannot be located, then a reasonable attempt
to reconstruct the record must be made. Reasonable attempts may include
seeking copies from other public agencies, litigants, or others likely to have
retained copies, or by examining any available related documents. See, e.g., Haney
v. Haney, 163 Minn. 114, 119, 203 N.W. 614 (1925) (accepting an affidavit made
by counsel wherein he detailed the contents of a missing record and explaining
“statute authorizes the court to permit a copy to be filed and used instead of a
lost file”). The parties may submit their own affidavits or documentary support.
See, e.g., N.D.R.App.P. 10(f) (party may prepare a statement of the proceedings
from the “best available means” including his own recollection, and opposing
party may submit objections to the statement). Upon request, the court may
schedule a hearing to address any missing record to allow interested persons to
present any documents or testimony relevant to the inquiry. See In re Bird’s Est.,
410 Ill. 390, 400, 102 N.E.2d 329 (1951) (stating the power to restore lost records
is inherent and “the court must proceed cautiously in any such proceeding to
restore lost records”); contra White v. United States, No. 07-CV-262, 2010 WL
455260, at *1 (E.D. Wis. Feb. 9, 2010) (“28 U.S.C. § 1735(b) is a discretionary rule
that requires a hearing to restore a record ‘only where a judge of the district court
so directs.’”). Ultimately, the court may make findings and enter an order


                                         7
regarding the missing record, detailing the steps taken to locate or reconstruct
the missing record and stating the outcome of that effort. That order must be
kept as a substitute for the missing record.

[¶20] We grant the petition in part and order the Jamestown Municipal Court to
conduct further proceedings consistent with this opinion.

                                        IV

[¶21] Zundel also seeks declaratory relief, arguing this Court should declare
Zundel was not charged with a crime involving domestic violence. Zundel also
argues this Court should declare he was not convicted of domestic violence in
relation to his November 1990 simple assault charge and his right to possess a
firearm was not legally impaired.

[¶22] “The declaratory judgment act, NDCC Ch. 32–23, is remedial and is to be
liberally construed to settle uncertainty concerning rights, statuses, and other
legal relations.” Medcenter One, Inc. v. N. Dakota State Bd. of Pharmacy, 1997 ND
54, ¶ 9, 561 N.W.2d 634. Zundel asks us to resolve whether the facts underlying
the Jamestown Municipal Court simple assault case from November 1990, or the
nature of any resulting conviction, involved domestic violence without any
evidence in the record on which we could make such a finding. We deny his
requests for declaratory relief.

                                        V

[¶23] We grant the petition in part and direct the Jamestown Municipal Court to
perform a diligent inquiry and set out the results of that inquiry in a record to be
maintained consistent with N.D. Sup. Ct. Admin. R. 19. We deny the petition’s
requests for declaratory relief.

[¶24] Jon J. Jensen, C.J.
      Lisa Fair McEvers
      Jerod E. Tufte
      Douglas A. Bahr
      Daniel D. Narum, D.J.


                                         8
[¶25] The Honorable Daniel D. Narum, District Judge, sitting in place of
Crothers, J., disqualified.




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